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Department of Labor and Employment
os : ‘ PHILIPPINE OVERSEAS EMPLOYMENT ADMINIS . «ATION
' CONTRACT OF EMPLOYMENT

KNOWN ALL MEN BY THESE PRESENTS:

This Contract, entered into voluntarily by and between:

Name of Seafarer: BUENAVENTURA, BEN MARONILLA

Date of Birth : 25.03.1975 Age: 40 PlaceofBirh: CAMARINES SUR
Address: SITIO LIBU VILLA SANTIAGO BRGY. BALAYONG MALOLOS BULACAN
SIRB No. : C0131229 SRC No.: 0081135-93

License No. :

hereinafter referred to as the Employee, and
Name of Agent: C.F. SHARP CREW MANAGEMENT, INC.

Address of Agent: CASA ROCHA 290-292 GENERAL LUNA ST. INTRAMUROS, MANILA.
For and in behalf of NORWEGIAN CRUISE LINE, LTD.

7665 CORPORATE CENTER DRIVE, MIAMI FLORIDA, USA 33126
(Principal/Country)

For the Vessel: M/S NORWEGIAN BREAKAWAY (HOTEL)

IMO No. : 9606912 Gross Registered Tonnage (GRT): 143000 Flag: BAHAMAS
Official No. : 9000381 Year Built: 2013 Vessel Type: PASSENGER / CRUISE SHIP
CBA Affiliation.: NSU CBA Classification Society: DNV
hereinafter referred to as the Employer. WITNESSETH
1. That the employee shall be employed onboard under the following terms and conditions
1.1 Duration of Contract 8.00 months
1.2 Position WAITER /TRESS * Group: C2
1.3 Basic $ 575.00 = per month
1.4 FOT $ 0.00 (40-56 Hours)
1.5 GTD O/T Pay 540.10 per month for 60.62 Hours
1.6 Vacation Pay $ 86.25 per month
1.7 Monthly GTD Pay 0.00 per month (Inclusive compensation for unlimited hours of work)
1.8 Monthly Incentive $ 635.00 = per month
1.9GTD O/T Rate $ 4.15
1.10 Hourly OT Rate $ 4.99 per hour in excess of GOT
1.11 Seniority Pay 0.00 permonth First Hire Date: July 14, 1999
1.12 Total Monthly Pay to Seafarer $ 1,836.35 per month
1.13 Union Fee $ 15.00 (Directly remitted to Union)
1.14 Social Program Compensation $ 25.00 (Directly remitted to SSS and Philhealth)
1.15 Special Monthly Incentive $ 0.00
1.16 Additional Incentive $ 0.00
1.17 Leave Days 4.5 day(s)
1.18 POINT OF HIRE MANILA

to

The herein terms and conditions in accordance with Governing Board Resolution No. 9 and Memorandum Circular No. 10,
both Series of 2010, shall be strictly and faithfully observed.

The shipowner shall provide decent working and living conditions onboard the ship. Likewise, the health and social security
protection benefits shall also be provided to the seafarer.

Any alterations or changes, in any part of this Contract shall be evaluated, verified, processed, and ap roved by the Philippine
Overseas Employment Administration (POEA). Upon approval, the same shall be deemed an integyél part of the Standard
Terms and Conditions Governing the Employment of Filipino Seafarers On Board Ocean-Going

Violations of the terms and conditions of this Contract with its approved addendum shall be gr
against the erring party.

nd for disciplinary action

IN WITNESS WHEREOF, the parties have hereto set their hands this 14 of March 2016 at Mahila, Philippines.

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‘BEN MARONILLA JICKIEP, ILAGAN

Seafarer ) cerweFor the Employer vnc. |

Verified and approved by the POEA :

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_ ADDENDUM TO EMPLOYMENT CON1_.ACT

C.F. Sharp Crew Management, Inc., a seabased manning agency registered under the Philippine
Overseas Employment Administration (POEA) herein referred to as the FIRST PARTY;

and

BEN M. BUENAVENTURA, joining the vessel M/S NORWEGIAN BREAKAWAY (HOTEL)
in the capacity of WAITER /TRESS * position with seaman's book no €0131229 herein referred to as the
SECOND PARTY;

Both parties hereby agreed to the following undertakings:

1. That it was explained that the vessel where the SECOND PARTY is assigned may transit through
the "High Risk Areas" during the term of contract;

2. That in the event the vessel of the SECOND PARTY will transit in "High Risk Areas", POEA
Governing Board Resolution No. 26, Series of 2014, will apply; to be explained in details by the
FIRST PARTY:

3. That the FIRST PARTY will faithfully observe the provisions of the said POEA Governing
Board Resolution No. 26, Series of 2014 to protect the interests of the SECOND PARTY;

4, That the SECOND PARTY will honor the provisions of the said POEA Governing Board
Resolution No. 26, Series of 2014 as part of his contractual obligations with the FIRST PARTY.

Both parties hereby express their. conformity to this Addendum to the Employment Contract by affixing
their signatures below.

FIRST PARTY SECOND PARTY

JICKIE P. ILAGA BEN M. BUENAVENTURA
Fleet Manager\__/ WAITER /TRESS *

POEA

PHILIFPINE OVERSEAS EMPLOYMENT ADMINISTRATION
PRE-EMPLOYMENT SERVICES OF FICE
STABASED EVMPLYOMENT ACCREDITATION AND PROCESSING CENTER

APPROVED

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Date: arch 18.2018 raed

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